               Case 1:77-cv-00721-KK-SCY Document 3355 Filed 07/12/23 Page 1 of 4




From:                Rami Newman <rami@roblesrael.com>
Sent:                Wednesday, July 12, 2023 10:03 AM
To:                  NMDdb_Proposed Text Khalsa
Cc:                  Alexandra Freedman Smith; Doreen McKnight; Nicholas Davis; 'cubraoffice@gmail.com'; 'Kate Loewe
                     (kate@rjvlawfirm.com)'; mhd_rothsteinlaw.com; Alisha.TafoyaLucero@state.nm.us;
                     Hope.Salazar@state.nm.us; holly.agajanian@state.nm.us; Hatch, Rebecca, CD; Maciel, Gary, NMCD;
                     Garcia, Leslie, CD; Lovato, Mark, CD; Taylor Rahn; Rami Newman
Subject:             CIV-77-00721 KK/SCY, Motion for Finding of Substantial Compliance With Paragraph 9 of the
                     Second Revised Settlement Agreement
Attachments:         77cv721 KK, Order Granting Motion re Paragraph 9.docx



CAUTION - EXTERNAL:


Dear Judge Khalsa,

 The purpose of this email is to provide you with a proposed Order regarding the above-referenced matter.

 Attached, please find a proposed Order Finding Substantial Compliance with Paragraph 9 of the Second Revised
Settlement Agreement. Plaintiffs have withdrawn their opposition to Defendants’ Motion for Substantial
Compliance with Paragraph 9 (Doc. No. 3351).

 If the proposed Order meets with your approval, please sign and enter the Order. Thank you for your time and
attention to this matter. Please contact me should you have any questions or concerns.

Sincerely,

Rami Newman
Paralegal
ROBLES, RAEL & ANAYA, P.C.
500 Marquette Ave. NW, Suite 700
Albuquerque, NM 87102
(505) 242-2228 Phone
(505) 242-1106 Facsimile
rami@roblesrael.com




***************************************

The unauthorized disclosure or interception of e-mail is a federal crime. See 18 U.S.C. § 2517(4). This e-mail is
intended only for the use of those to whom it is addressed and may contain information which is privileged,
confidential and exempt from disclosures under the law. If you have received this e-mail in error, do not distribute


                                                          1
             Case 1:77-cv-00721-KK-SCY Document 3355 Filed 07/12/23 Page 2 of 4
or copy it. Return it immediately with attachments, if any, and notify me by telephone at (505) 242-2228. Thank
you.

  CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
  attachments or clicking on links.





                                                       2
      Case 1:77-cv-00721-KK-SCY Document 3355 Filed 07/12/23 Page 3 of 4




                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO


DWIGHT DURAN, et al.,

       Plaintiffs,

v.                                                                   Civ. No. 77-00721 KK/SCY

MICHELLE LUJAN GRISHAM, et al.,

       Defendants.

            ORDER FINDING SUBSTANTIAL COMPLIANCE WITH
      PARAGRAPH 9 OF THE SECOND REVISED SETTLEMENT AGREEMENT

       THIS MATTER came before the Court on the Defendants’ Motion For Finding of

Substantial Compliance with Paragraph 9 of the Second Revised Settlement Agreement. The

Court, having reviewed the Motion, as well as the fact that Plaintiffs no longer oppose the motion,

finds that it is well taken and should be GRANTED.

       THEREFORE, it is found that Defendants have complied with Paragraph 9 of the

Second Revised Settlement Agreement.

       IT IS THEREFORE ORDERED, ADJUDGED, and DECREED that Defendants have

complied with Paragraph 9 of the Second Revised Settlement Agreement. Defendants shall

maintain compliance for six (6) months from the entry of this Order at which time they may

seek disengagement.




                                             THE HONORABLE KIRTAN KHALSA
                                             U.S. MAGISTRATE JUDGE
     Case 1:77-cv-00721-KK-SCY Document 3355 Filed 07/12/23 Page 4 of 4




                                         Respectfully submitted by:

                                         ROBLES, RAEL & ANAYA, P.C.


                                         By:     /s/ Taylor S. Rahn
                                                Taylor S. Rahn
                                                Attorney for Defendants
                                                500 Marquette Ave. NW, Suite 700
                                                Albuquerque, NM 87102
                                                (505) 242-2228
                                                (505) 242-1106 (facsimile)
                                                taylor@roblesrael.com



APPROVED BY:

Law Office of Alexandra Freedman Smith

Approved via email on 07/12/23
Alexandra Freedman Smith
925 Luna Circle NW
Albuquerque, NM 87102
(505) 200-2331
asmith@smith-law-nm.com
Attorneys for Plaintiff Class



/s/ Taylor S. Rahn
Taylor S. Rahn




                                            2
